                                                           LAW OFFICES OF
                                                  MICHAEL K. CHONG LLC
                                                  1250 BROADWAY 36TH FL, SUITE 300
                                                     NEW YORK, NEW YORK 10001
                                                  (212) 726-1104 FAX (212) 726-3104
                                                            _____________________________

                                                           WWW. MKCLAWGROUP.COM

MICHAEL K. CHONG ‡                                                  FORT LEE:                                 HOBOKEN:
    ___________________________________________
                                                            2 EXECUTIVE DRIVE, STE. 720               300 HUDSON STREET. STE. 10
‡ MEMBER, NJ BAR, U.S.D.C. NEW JERSEY                       FORT LEE, NEW JERSEY 07024               HOBOKEN, NEW JERSEY 07024
  SDNY, NEW YORK                                          (201) 708-6675   FAX (201) 708-6676      (201) 203-7476   FAX (201) 708-6676
  EDNY, NEW YORK
  U.S.C.A. 2ND CIRCUIT
                                                              * Please Reply to: FORT LEE             DIRECT DIAL: (201) 947-5200
                                                                                                    EMAIL: MKC@MKCLAWGROUP.COM


                                                                  May 10, 2016

  Via ECF
  Hon. Steven I. Locke, U.S.M.J.
  U.S. Courthouse
  100 Federal Plaza, Courtroom 820
  Central Islip, NY 11722

                   Re:               Siancas et al. v. Exclusive Detailing Inc. et al.
                                     Docket No.: 2:14-cv-6151

  Dear Judge Locke:

          This office represents defendants in the above referenced matter. As the court is aware,
  Michael Agoila, the owner of Exclusive Detailing, Inc. ("EDI") and his wife have filed for
  bankruptcy (Bankruptcy Docket No. 16-13291). We respectfully submit this correspondence as
  notice to the Court that, in light of this lawsuit and the numerous other lawsuits recently filed
  against defendant (EDI), our client has been forced into seeking Bankruptcy protection pursuant
  to 11 U.S. Code Chapter 7. The filing date of EDI's bankruptcy petition was Monday, May 9,
  2016, under Bankruptcy Docket No. 16-19065.

          In good faith, our client diligently sought alternatives to filing for Bankruptcy, but their
  present state of financial affairs renders them incapable of defending these lawsuits or meeting
  their other outstanding financial obligations. As such, it is respectfully submitted that the above
  referenced matter is stayed, pursuant to the Bankruptcy protection afforded under 11 U.S.C.
  362(a)(1). If the court requires any additional information, please kindly contact my office.

                   Thank you for your consideration and courtesies.

                                                                                Respectfully submitted,

                                                                                Michael K. Chong
                                                                                Michael K. Chong, Esq.

  MKC/
  cc:  Steven Moser, Esq. (Plaintiff's counsel)
       James McGrath, Esq. (Co-Defendants' counsel)
